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                 UNITED STATES DISTRICT COURT
                 EASTERN DISTRICT OF CALIFORNIA
                 THE HONORABLE MORRISON C. ENGLAND, JR.




CHARITY PANTALION SEYMOUR,                     Case No. 2:19-cv-00564-MCE-KJN

              Plaintiff,

      v.                                       ORDER FOR RELEASE OF
                                               PERSON IN CUSTODY
WILSHIRE CREDIT CORPORATION
HOME LOANS DIRECT, et al.,

           Defendants.
______________________________/

TO: THE UNITED STATES MARSHAL SERVICE

This is to authorize and direct you to release DENNISE SUZANNE HENDERSON in
case number 2:19-cv-00564-MCE-KJN, from custody for the following reason(s):

           Release on Personal Recognizance
           Bail Posted in the Sum of $
           Unsecured Appearance Bond
           Appearance Bond with 10% Deposit
           Appearance Bond with Surety
           Corporate Surety Bail Bond
  X        Other: Counsel Dennise Suzanne Henderson is released from custody
           pursuant to the Court’s order at ECF No. 48. The United States Marshal is
           directed to provide copies of the Court’s order at ECF No. 48 and release
           order to Dennise Suzanne Henderson.

Issued at Sacramento, California on JUNE 12, 2023, at 12:35 p.m.

Dated: June 12, 2023
